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16
                                  UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
                                       SAN FRANCISCO DIVISION
19
     IN RE SEAGATE TECHNOLOGY LLC                        No. 3:16-cv-00523-JCS
20   LITIGATION

21                                                       STIPULATION AND [PROPOSED]
     CONSOLIDATED ACTION                                 ORDER FOR EXTENSION OF TIME TO
22                                                       FILE OPPOSITION TO AND REPLY IN
                                                         SUPPORT OF MOTION TO STRIKE
23                                                       AND FOR JUDGMENT ON THE
                                                         PLEADINGS
24                                                       GRANTED AS MODIFIED
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 1              Pursuant to Local Rule 6-1, the parties stipulate to an extension of time for filing Plaintiffs’

 2   opposition to Defendant’s Motion to Strike and for Judgment on the Pleadings (ECF No. 114) and

 3   Defendant’s reply to the same. See Declaration of Ashley A. Bede (“Bede Decl.”), ¶ 4. The parties

 4   have agreed that Plaintiffs’ opposition brief will be due June 23, 2017, and Defendant’s reply brief

 5   will be due on July 12, 2017. Id. The parties accordingly request that the hearing on Defendant’s
                                                The hearing will occur on August 25,
 6   motion be continued to July 28, 2017. Id.
                                                2017 at 9:30 AM in Courtroom G.
 7           Per Defendant’s request, many named plaintiffs’ depositions are occurring in the first two

 8   weeks of June. Id. ¶ 3. The parties have scheduled five such depositions during the span of June 2 to

 9   June 15. Id. For this reason, Plaintiffs requested additional time to respond to Defendant’s Motion to

10   Strike and for Judgment on the Pleadings.

11              Local Rules 6-2 and 7-1 permit the parties to stipulate provided that they, inter alia, reduce

12   the stipulation to written form and file it with the Court. The stipulation is effective upon the Court’s

13   approval. L.R. 6-2(b).

14              This requested time modification would have no effect on any other deadlines in the case.

15   Id. ¶ 5.

16              IT IS SO STIPULATED.

17   DATED: June 6, 2017                               HAGENS BERMAN SOBOL SHAPIRO LLP

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     STIPULATION AND [PROPOSED] ORDER
     FOR EXTENSION OF TIME – 1                                                        Case No. 3:16-cv-00523-JCS
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     STIPULATION AND [PROPOSED] ORDER
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